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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA




   Case Number: 18-02053-HB



                                    ORDER APPROVING SALE

   The relief set forth on the following pages, for a total of 3 pages including this page, is
   hereby ORDERED.
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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

   In Re:                                          )
                                                   )
   CSC Developers, LLC                            )               Case Number 18-02053-HB
                      Debtor                       )              Chapter 7


                         ORDER AUTHORIZING SALE OF ASSET

          This proceeding comes before the Court on the Application of the
   Trustee for authority to sell the Estate’s interest in: Lot 24 Chandelle Subdivision,
   Woodruff/Greer, South Carolina. Spartanburg County Map:4-05-00-038.31 for
   $62,500.00

           The Court has been informed that all parties in interest have been notified of the
   intention to sell said property, and that an objection to the proposed Sale has been filed
   by Chandelle Property Owners Association (docket #118) in the office of the Clerk of
   this Court. Chandelle Property Owners Association has agreed to this sale provided the
   net funds from the sale are not disbursed until further Order of this Court. The Trustee
   has represented to the Court that such sale is in the best interest of Creditors of the Estate.
   If the Sale does not close within 30 days of the date of this Order, the Trustee reserves the
   right to sell the property to a backup purchaser on the same terms and purchase price as
   stated in the Notice of Sale without further notice. The identity of the backup purchaser
   shall be disclosed in the Report of Sale filed with the Court. If the backup purchaser is
   an insider, the Trustee shall notify the United States Trustee prior to proceeding with the
   backup Sale.

          IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that the
   Trustee is authorized to sell and to convey the Estate's interest in the above-described
   property and the net funds from the Sale will not be disbursed until further Order of this
   Court,

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the automatic
   14-day stay provided by Fed. R. Bankr. P. 6004(h) does not apply to this Sale.



   Consents on next page
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   CSC Developers, LLC
   18-02053
   Sale of Lot 24

   We Consent:
   /s/    John K. Fort
   John K. Fort, Chapter 7 Trustee
   P.O. Box 789
   Drayton, SC 29333
   (864) 237-8284


   /s/ Robert P. Wood
   Robert P. Wood (Bar # 4738)
   1221 Main Street 14th Floor
   P.O. Box 100200
   Columbia, SC 29202
   (803)771-7900
